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 1   DOUGLAS I. HORNGRAD
     Attorney at Law
 2   California State Bar No. 95086
     1736 Stockton Street
 3   Maybeck Building Four
     San Francisco, California 94133
 4   Telephone: (415) 397-9509
     Facsimile: (415) 397-9519
 5
     Attorney for Defendant
 6   VI TRUONG
 7
 8                              UNITED STATES DISTRICT COURT
 9                              EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                      Case No. 2:09-cr-00421 GEB
12                 Plaintiff,                       STIPULATION AND [PROPOSED]
                                                    ORDER MODIFYING CONDITION OF
13           v.                                     RELEASE
14   VI TRUONG,
15              Defendant.
     ______________________________/
16
17           IT IS HEREBY STIPULATED, and respectfully requested, by Douglas Horngrad,
18   counsel for defendant Vi Truong, that the conditions of Mr. Vi Truong’s release be modified
19   to temporarily suspend Mr. Truong’s required participation in drug testing and outpatient
20   drug counseling. This request is made pursuant to the recommendation of Pretrial Services
21   on the grounds that the defendant Vi Truong recently suffered a fractured right femur,
22   requiring surgical insertion of a metal rod into his leg. Mr. Truong is essentially limited to
23   staying in his residence in the near term, and is expected to be reliant on a wheelchair for
24   mobility for an extended period of time. The parties further stipulate that the testing and
25   //
26   //
27   //
28   //
       Case 2:09-cr-00421-TLN Document 79 Filed 07/20/11 Page 2 of 2


 1   counseling may be reinstated at the direction of Pretrial Services.
 2
            IT IS SO STIPULATED
 3
 4   Dated: July 19, 2011                      /s/ Douglas Horngrad
                                               DOUGLAS HORNGRAD
 5                                             Attorney for Defendant
                                               VI TRUONG
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 7
 8   Dated: July 19, 2011                      /s/ with consent
                                               JASON HITT
 9                                             Assistant United States Attorney
10
11          IT IS SO ORDERED.
12
13   Dated: July 20, 2011

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15                                          GARLAND E. BURRELL, JR.
                                            United States District Judge
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